#1-26-'09 18:04 FROM-Hampton Inn 95444911118 T-480 Fuss U19 F-936

GO. FILE SEPT. CLOCK NUMBER 980

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TAKEDA PHARMACEUTICALS NORTH AMERICA, INC Period Beginning: 01/03/2009

ONE TAKEDA PARKWAY Period Ending: 01/16/2009

OEERFIELD, iL Goats Pay Date: 01/16/2009

Taxable Marital Status: Marned PABLO F SEVILLA

Examptions/Allowancos: 600 W LONNQUIST BLVD

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